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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION


UNITED STATES OF AMERICA

v.                                                 CRIMINAL NO. 1:23-cr-150-MPM-DAS-1

CHRISTOPHER BRADLEY


                               ORDER SUBSTITUTING COUNSEL

        The Federal Public Defender has moved for an order substituting counsel in the above-

styled and numbered cause due to a potential conflict of interest. The Office of the Federal Public

Defender contacted Maria Liu on February 2, 2024, who agreed to be appointed as counsel to

represent this defendant in his cause to eliminate any possibility of a conflict of interest and Maria

Liu has agreed to be substituted as counsel for the defendant.

        Therefore, IT IS HEREBY ORDERED AND ADJUDGED that:

        The Office of the Federal Public Defender is hereby released from the obligation of the

representation of this defendant and any other responsibilities concerning the above-styled and

numbered cause and that Maria Liu is hereby substituted as counsel of record for the defendant

in this cause.

        IT IS SO ORDERED this the 2nd day of February, 2024.


                                       /s/ Jane M. Virden
                                       UNITED STATES MAGISTRATE JUDGE
